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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

OSCAR SANCHEZ, et al., on their own           §
and on behalf of a class                      §
of others similarly situated,                 §
                                              §
               Plaintiffs/Petitioners,        §
                                              §
v.                                            §         CIVIL ACTION NO. 3:20-cv-00832-E
                                              §
DALLAS COUNTY SHERIFF                         §
MARIAN BROWN, et al.,                         §
                                              §
               Defendants/Respondents.        §

                                           ORDER

        Before the Court is Plaintiffs/Petitioners’ Motion for Temporary Restraining Order,

Preliminary Injunction, and Writ of Habeas Corpus (Doc. No. 2). The Court DENIES the relief

requested in the motion. An opinion explaining the Court’s reasoning will be forthcoming soon.

        SO ORDERED.

        Signed April 27, 2020.



                                                   ________________________________
                                                   ADA BROWN
                                                   UNITED STATES DISTRICT JUDGE
